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15                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
16                                  SAN JOSE DIVISION

17
     IN RE: APPLE INC. DEVICE                     Case No. 5:18-md-02827-EJD
18   PERFORMANCE LITIGATION
                                                  PLAINTIFFS’ REPLY IN FURTHER
19                                                SUPPORT OF RENEWED MOTION FOR
                                                  ATTORNEYS’ FEES, EXPENSES AND
20                                                SERVICE AWARDS

21   This Document Relates to:
                                                  Judge: Hon. Edward J. Davila
22        ALL ACTIONS                             Courtroom: 4, Fifth Floor
                                                  Date: April 20, 2023
23                                                Time: 9:00 a.m.

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 1   I.       INTRODUCTION

 2            In response to Plaintiffs’ Renewed Motion for Attorneys’ Fees, Expenses and Service Awards

 3   (ECF No. 632, the “Renewed Fee Motion”), the Feldman Objectors and Anna St. John (collectively

 4   the “Objectors”) repeat a host of arguments already made to this Court and the Ninth Circuit. ECF

 5   Nos. 638-639 (repeating attacks on international liaison counsel fees, paralegal fees and incentive

 6   awards to the non-Named Plaintiffs). While the Ninth Circuit did vacate this Court’s order awarding

 7   attorneys’ fees, expenses and incentive payment as a procedural matter “[i]n light of [its] vacatur of

 8   the settlement,” In re Apple Inc. Device Performance Litig., 50 F.4th 769, 783 (9th Cir. 2022), 1 it saw

 9   fit to provide specific guidance to this Court in only two areas. First, the Ninth Circuit ruled that this

10   Court “should reconsider” whether the billing time of the JCCP counsel should be included in the

11   lodestar calculation. See id at 783-785. Second, the Ninth Circuit also stated that on remand the

12   Court “should more clearly explain” why a deviation from the 25% benchmark is or is not appropriate

13   “before proceeding” to the discretionary lodestar cross-check. Id. at 784, n. 11. See also id. at 784

14   (noting that the cross-check is “encourage[d]” although discretionary). Those are the only two issues

15   as to the Fee Order (ECF No. 609) that the Ninth Circuit highlighted for further clarification by this

16   Court.

17            The Renewed Fee Motion sets forth comprehensive analysis of the Court’s decision to award

18   a slight upward adjustment of 1% to the benchmark based upon the factors in Vizcaino v. Microsoft

19   Corp., 290 F.3d 1043 (9th Cir. 2022), making the percentage award 26%. ECF No. 632 at 2-8. As
20   set forth in the Renewed Fee Motion, the Ninth Circuit has only asked this Court to provide the

21   findings on which it based the upward adjustment. Apple, 50 F.4th at 784, n.11. Plaintiffs have again

22   presented the detailed record, already in existence, on which this Court previously, and may again,

23   draw to provide such a detailed order on remand.

24            Other than Apple, 50 F.4th 769, the Objectors present no new authority that was not, or could

25   not, have been cited to the Court on the Original Fee Motion or to the Ninth Circuit on appeal

26   concerning the application of the Vizcaino factors or the upward adjustment from the benchmark.

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28   1    All emphasis is added, and footnotes and quotations omitted, unless otherwise stated herein.
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 1   Similarly, there is no new factual record that needs to be developed for this Court to issue an order

 2   setting out any finding necessary to support the Vizcaino factors – an ample record already exists.

 3   Objectors’ attacks suggesting a lack of Court oversight or analysis of the underlying factual record in

 4   order to justify the small 1% upward adjustment are ungrounded. The Court sat through hours of

 5   hearings and reviewed reams of submissions, and it made an appropriate determination. The Ninth

 6   Circuit has only directed, in a footnote, that the Court “more clearly explain” its rationale and whether

 7   the JCCP counsel time was included in its analysis.

 8            As set forth herein, and as consistent with all arguments previously submitted by the Plaintiffs,

 9   the JCCP time is properly – and should be – included in the analysis of lodestar. As set forth below,

10   other courts in this District have properly included JCCP time in other cases. From the outset, the

11   JCCP time was included in the August 26, 2020 Motion for Attorneys’ Fees, Expenses and Service

12   Awards. ECF No. 468 at i (the “Original Fee Motion”). JCCP counsel’s initial and supplemental

13   declarations concerning the work they had performed to litigate the claims, and their billing amounts

14   were also included with the Original Fee Motion. See ECF No. at 471-2 (the “JCCP Decl.”); ECF

15   No. 552 at Ex. 3 (the “Supplemental JCCP Decl.”). Of equal importance, the payment of fees to the

16   JCCP counsel was included in the express terms of the Stipulation of Settlement (the “Stipulation”)

17   (ECF 416) and coordinated as between this Court and the Superior Court for the State of California,

18   County of Santa Clara (the “State Court”).

19            Plaintiffs submit that their Renewed Fee Motion should be granted without exception as it

20   assists the Court in framing the revised order on remand in order to satisfy the two limited items raised

21   by the Ninth Circuit.

22            The Renewed Fee Motion should be granted and the Court need not engage in a second

23   protracted litigation of matters already decided.

24   II.      FACTUAL OVERVIEW

25            As noted, the Stipulation set forth for the Court the history of the JCCP action and made clear

26   that the JCCP action was settled as part of the global settlement embodied in the Stipulation from the

27   outset. See e.g. ECF 416 (Stipulation) at Sections 1.1.1 (“Actions” defined to include JCCP action),

28   1.12(c) (JCCP counsel signature required), 1.12 (k) and (l) (requiring dismissal of the JCCP action as
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 1   settlement condition), 1.15 (defining JCCP counsel), 1.24 (defining Plaintiffs’ Counsel to include

 2   JCCP counsel), Sections 2(F) and (G) (noting the substantial discovery in the MDL and JCCP cases,

 3   and the history of the JCCP case), Section 8.1 (providing that Class Counsel will seek fees on behalf

 4   of all Plaintiffs’ Counsel), and Section 9.1 (providing that JCCP agree to Stipulation, will not make a

 5   separate fee request and will be paid in connection with the amount awarded by this Court).

 6   Consistent with the Stipulation, the Original Fee Motion included information to support the fee

 7   submission by the counsel in the JCCP action. ECF No. 471-2. Indeed, at the hearing on the Original

 8   Fee Motion (the “Fee Hearing”), JCCP counsel appeared, and were present to address questions from

 9   the Court. ECF 605 at 96.

10           Moreover, this Court was informed that the State Court required JCCP counsel to coordinate

11   with counsel in this MDL action, and this Court was provided with factual detail about JCCP

12   counsel’s contributions to the work undertaken in discovery. Id. at 96-97. See also ECF No. 471 at

13   paragraph 63 (joint declaration of Interim Co-Lead Counsel referring to the cooperation of JCCP

14   counsel in litigation of the actions); ECF No. 552 at paragraph 4 (joint declaration of Interim Co-Lead

15   Counsel setting forth JCCP counsel cooperation and State Court expectation of coordination); ECF

16   No. 552 at Exhibit 3 (Supplemental Joint Declaration signed by JCCP counsel further detailing the

17   work performed). As set forth below, there is no factual or legal basis to exclude the JCCP time from

18   the discretionary lodestar analysis cross-check the Court performed. Indeed, as the Court noted, the

19   JCCP time was largely “unchallenged” by the objectors. ECF 609 at 14, n. 5.

20           Similarly, an extensive record was submitted in support of the Original Fee Motion concerning

21   the work performed by Interim Co-Lead Counsel, the Executive Committee and the Steering

22   Committee. See ECF No. 469 (Declaration of Mark Dearman, chair of Executive Committee, who

23   was tasked with overseeing time submissions). The Court was provided on a quarterly basis during

24   the underlying litigation of the action with reports and updates pursuant to a billing protocol. In

25   summary, there is a voluminous record of billing time that has been already presented to this Court,

26   not simply at the settlement stage, but during the entirely of the litigation, on which it based its initial

27   Fee Award.

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 1   III.      ARGUMENT

 2             A.       The Vizcaino Factors Support Upward Adjustment Of the 25% Benchmark
 3             The Renewed Fee Motion includes a detailed recitation of the Vizcaino, 290 F.3d 1043, factors

 4   and how the proposed Fee Award should be granted based on application of those factors. ECF 632

 5   at 2-9. The primary attack by the Objectors is that the arguments repeat those made in the proceedings

 6   below. ECF 638 at 2 (Feldman Objectors’ Brief stating that Plaintiffs “reiterat[e] . . . their analysis

 7   of the Vizcaino factors”). See also ECF 639 at 2-6 (St. John Brief generally repeating their prior

 8   Vizcaino attack). It is correct that Plaintiffs are not seeking to reinvent the Vizcaino analysis. And

 9   the reason for that is straightforward. The Ninth Circuit did not direct the Court to engage in more

10   fact finding, but only to “clearly explain” the rationale. Apple, 50 F.4th at 784, n.11. The same factual

11   and procedural record is before the Court, and Plaintiffs’ arguments have not substantively changed.

12   Plaintiffs submit that nothing further is required to permit this Court to issue an order on remand

13   setting out the Vizcaino analysis in a manner sufficient to comply with the footnoted item in the Apple

14   decision.

15             B.       JCCP Time Was Properly Included in the Lodestar
16             From start to finish, the lodestar presented to the Court included JCCP time, as consistent with

17   the Stipulation. See e.g. ECF 609 (Fee Order) at 14-15 (discussing that the lodestar presented was

18   “combined with JCCP Counsel). Not only is this common sense since the claims were being globally

19   resolved in this Court, but it is consistent with how this District has included other JCCP time in
20   resolving large class action settlements. See e.g. In re Yahoo! Inc. Customer Data Security Breach

21   Litigation, Case No. 16-MD-02752-LHK, 2020 WL 4212811, at *29 (N.D. Cal. July 22, 2020) (“As

22   an initial matter, the Court accepts as reasonable the 7,180.40 hours and $2,906,661.00 lodestar

23   attributable to the work of JCCP Counsel.”).

24             Indeed, as set forth in Section II, the Stipulation was designed to be a global resolution of the

25   MDL Action and the JCCP action. The consideration to be paid as a result of the Settlement (which

26   benefits all Settlement Class members) was designed to include resolution of theories and claims that

27   were still pending in the JCCP action. Thus, the Settlement Class indeed benefitted from joint

28   prosecution by JCCP counsel. JCCP counsel assisted in, among other ways, the coordinated review
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 1   of documents and in the preparation and taking of joint depositions, as well as in pursuing potential

 2   additional claims that were included in the Stipulation, as noted herein. Accordingly, the Stipulation,

 3   which must be read in its entirety, provides at Section 1.24 that JCCP counsel are included in the

 4   definition of “Plaintiffs’ Counsel”, and the Stipulation at Section 8.1 provides that Class Counsel will

 5   apply for a fee on behalf of all Plaintiffs’ Counsel. See ECF 416.

 6            Cases cited by Objectors are distinguishable or fail to support any assertion that inclusion of

 7   JCCP time is improper or erroneous. The Feldman Objectors inaccurately cite Chemical Bank v. Jaffe

 8   Schlesinger, P.A., 19 F.3d 1306, 1309 (9th Cir. 1994) as holding that work in a parallel state action

 9   should not be included in a fee award to class counsel. ECF 638 at 6. See also ECF 639 at 8 (St.

10   John citing Chemical Bank). Assuming, arguendo, Chemical Bank can even be construed as creating

11   an across-the-board rule on this point, the facts are wholly distinguishable.2

12            Objectors’ citation to Churchill Village, L.L.C. v. General Electric, 361 F.3d 566 (9th Cir.

13   2004) to support any argument that JCCP time should not be included is similarly inapplicable. ECF

14   638 at 6 (Feldman Objectors’ Brief). In that action, counsel on behalf of a plaintiffs in proposed class

15   actions pending in Florida were included in an application for fees when counsel in a California based

16   nationwide class action sought fees in connection with a settlement. Id. at 578. The Churchill Village

17   decision declined to permit Florida counsel to recover fees based on standing arguments because they

18
     2
19       In Chemical Bank, the “parallel” state action was not a class action (as here) seeking substantially
20   the same relief for a similar proposed class (as here), but rather was filed by Chemical Bank as the

21   “bond fund trustee” for current holders of Washington Public Power Supply System Project 4 and 5

22   bonds, which included certain “late” purchasers who were not members of the class. See e.g. Joint

23   Memorandum of Class Plaintiffs and Chemical Bank in Support of Their Proposed Plan of Allocation

24   Between the Bond Fund and the Class Fund filed in In re: Washington Public Power Supply System

25   Securities Litigation, No. MDL 551, 1990 WL 10079360 (D. Ariz. Mar. 14, 1990). As noted in the

26   cited memorandum filed in the underlying Chemical Bank action at the district court level, the

27   differences resulted in the need to address allocation issues. No such issues exist here, the proposed

28   class members in the JCCP action are subsumed in the proposed Settlement Class in the Stipulation.
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 1   did not represent a “successful party” in the settlement pursuant to Cal. Civ. Proc. Code Section

 2   1021.5 nor were themselves “parties” to the litigation. Id. at 578-579.

 3          The JCCP time was always part of the lodestar presented in the Original Fee Motion, and the

 4   basis for the 26% percentage fee award, and the resulting 2.232 multiplier. The Ninth Circuit noted

 5   that, if the JCCP time is excluded, the multiplier is 2.51, and that the Court had previously found that

 6   a “2.43 multiplier is high” when addressing the original unadjusted fee request of $87,730,000. Apple,

 7   50 F.4th at 785. The Ninth Circuit accordingly noted that the Court should consider whether the

 8   JCCP time should be included in the lodestar. Id. As discussed above, while it is entirely appropriate

 9   for the Court to include JCCP time in the lodestar, even if it does not, the resulting multiplier is well

10   within this District’s range of appropriate multipliers. Specifically, the Ninth Circuit cites to the

11   Court’s earlier discussion that a “1 to 4 multiplier” is “commonly found to be appropriate” (see ECF

12   609 at 18). See Apple, 50 F.4th at 785 (citing Court’s recitation of the “1 to 4” multiplier). Moreover,

13   this Court recently granted a 3.28 multiplier (on a 29% of fund award) in In re Facebook Internet

14   Tracking Litigation, Case No. 5:12-md-2314-EJD, 2022 WL 16902426, at *10-*12 (N.D. Cal. Nov.

15   10, 2022). Here, Class Counsel’s lodestar reflected tens of thousands of hours advanced, but did not

16   include pre-consolidation time, thus meaning their lodestar was already reduced from the actual time

17   spent litigating the action. Similarly, Class Counsel has spent significant time litigating these appeals,

18   which of course is not part of the submitted lodestar. Accordingly, the resulting multiplier, whether

19   2.5 or lower, is reasonable and well within the range “commonly found to be appropriate.” There

20   simply is no windfall to any of the Plaintiffs’ Counsel.

21          C.       Other Issues Raised By Objectors Are Not Properly Before the Court And Have
                     No Merit
22

23          As noted at the outset of the Ninth Circuit decision, “the district court properly resolved most

24   of the objections at issue. ” Apple, 50 F.4th at 776. Nevertheless, in addition to the two discrete issues

25   highlighted by the Ninth Circuit as set forth above, Objectors seek to dredge up such previously-

26   raised issues as international liaison counsel fees, paralegal fees and incentive awards.

27          Notably, the Fee Hearing transcript reflects that only Apple raised issues about international

28   liaison counsel fees (ECF 605 at 50-51) and that Anna St. John’s counsel, as to the paralegal time,
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 1   only raised the question as to whether it was authorized in advance (ECF 605 at 59). The Court

 2   entertained these objections at the Fee Hearing, and the Court only required a revised lodestar as to

 3   exclude contract attorney time and to cap document review rates at $350 per hour. ECF 609 at 15.

 4   To the extent any of the Objectors raised these issues on appeal (see e.g. Dkt. No. 25 in Nos. 21-

 5   15758 discussing paralegal fees), the arguments received no reaction from the Ninth Circuit in Apple,

 6   50 F.4th 769.

 7            Similarly, the Objectors’ attacks on the service awards were addressed to the Ninth Circuit,

 8   including Plaintiffs’ citation to the Ninth Circuit’s decision in Chambers v. Whirlpool Corp., 980 F.3d

 9   645, 670 (9th Cir. 2020) that permits service awards to non-class members.

10   IV.      CONCLUSION

11            For the foregoing reasons, the Court should grant the Renewed Fee Motion in full.

12
                                                Respectfully submitted,
13

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10   obtained from the above signatories.

11

12   Dated: December 2, 2022                                        /s/ Laurence D. King
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